               Case 23-55562-bem                             Doc 1           Filed 06/13/23 Entered 06/13/23 14:46:15                         Desc
                                                                            Petition Page 1 of 6
                                                                                                                 t ICE,
                                                                                         •   1LtU           CY COU1(1
                                                                                             U.S. B ANOUP1
Fill in this information to identify the case:
                                                                                               HORTHERN BISIBICT
 United States Bankruptcy Court for the:                                                             OF GEORGIA.

                                                                                                                 142
                            District of
                                          (State)
                                                                                             2023 JUII 13 ill
 Case number (If known):                                           Chapter     V
                                                                                                 m. REGINAE TO1AS                       121 Check if this is an
                                                                                                         C                                  amended filing
                                                                                               BY    DEPUTY C,I

Official 2-320•1"                 5 562
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                 06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1. Debtor's name                                    C---1(        pe ax-, 8 V iruL LL C-

 2. All other names debtor used                          \Dt        C r U l_ourvy iY1 or row
    in the last 8 years
     Include any assumed names,
     trade names, and doing business
     as names



 3. Debtor's federal Employer                                  _
    Identification Number (EIN)
                                                    /51



 4. Debtor's address                                Principal place of business                                 Mailing address, if different from principal place
                                                                                                                of business

                                                    I c10
                                                    Number
                                                                    rY\
                                                                   Street
                                                                               .7-ion 'Rd                        1a1DStreet
                                                                                                                Number
                                                                                                                                                             k)e
                                                                                                                P.O. Box

                                                    vy)
                                                     i
                                                                   uk-i\J          CI A- 302-14D
                                                                                     State    ZIP Code
                                                                                                                f\--V lay-14o
                                                                                                                City
                                                                                                                                          G114
                                                                                                                                            State       ZIP Code

                                                                                                                Location of principal assets, if different from
                                                                                                                principal place of business
                                                         Ch ° 1—\11-0M
                                                    County
                                                                                                                Number      Street




                                                                                                                City                        State       ZIP Code




  s. Debtor's website




 Official Form 201                                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 1
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Debtor                                                                                          Case number (Il known)
                Name



                                             liKorporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 6. Type of debtor
                                             0 Partnership (excluding    LLP)
                                             U Other. Specify:

                                             A. Check one:
 7. Describe debtor's business
                                             0 Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             0 Railroad (as defined in 11 U.S.C. § 101(44))
                                             0 Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             0 Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             0 Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             li'one of the above


                                             B. Check all that apply:

                                             0 Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             0 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                 § 80a-3)
                                             0 Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                             C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                http://www.uscourts.qov/four-diqit-national-association-naics-codes .



  8. Under which chapter of the              Check one:
     Bankruptcy Code is the
     debtor filing?
                                             0 Chapter 7
                                                 Cl3pter 9
                                             Pat-hapter 11. ChP - 'ion that apply:
         A debtor who is a "small business
         debtor" must check the first sub-                         l'he debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
         box. A debtor as defined in                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
         § 1182(1) who elects to proceed                          affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
         under subchapter V of chapter 11                         recent balance sheet, statement of operations, cash-flow statement, and federal
         (whether or not the debtor is a                          income tax return or if any of these documents do not exist, follow the procedure in
         "small business debtor") must                            11 U.S.C. § 1116(1)(B).
         check the second sub-box.                             N'The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                  noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                  less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                  Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                  statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                  § 1116(1)(B).

                                                               O A plan is being filed with this petition.

                                                               O Acceptances of the plan were solicited prepetition from one or more classes of
                                                                 creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               O The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                 Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                 Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                 for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                               O The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                 12b-2.
                                                 Ch_qpter 12




   Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
               Case 23-55562-bem              Doc 1                Filed 06/13/23 Entered 06/13/23 14:46:15                                Desc
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Debtor                                                                                        Case number wknown)
             Name



 9. Were prior bankruptcy cases        1:13{.
                                            1
    filed by or against the debtor
    within the last 8 years?           C-.1 Yes.   District                               Men                       Case number
                                                                                                 MM! DD / YYYY
     If more than 2 cases, attach a
                                                   District                               When                      Case number
     separate list.
                                                                                                 MM! DD /YYYY

  lo. Are any bankruptcy cases
      pending or being filed by a
      business partner or an           0 Yes.          Debtor                                                       Relationship
      affiliate of the debtor?                         District                                                     When
                                                                                                                                   MM / DD /YYYY
     List all cases. If more than 1,
     attach a separate list.                           Case number, if known


     Why is the case filed in this     Check all that apply:
     district?
                                          I<;ebtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                       0 A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

  12. Does the debtor own or have      El<
      possession of any real           D Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   O It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard?

                                                   O It needs to be physically secured or protected from the weather.

                                                   •      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                   O Other



                                                   Where is the property?
                                                                                 Number          Street



                                                                                 City                                              State ZIP Code


                                                   Is the property insured?

                                                   El No
                                                   El Yes. Insurance agency

                                                                  Contact name

                                                                  Phone




Mr            Statistical and administrative information




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Debtor                                                                                             Case number (If known)
             Name




 13.Debtor's estimation of               Check one:
    available funds                      0 FLipds will be available for distribution to unsecured creditors.
                                         IL"Arfter any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                          EV-49                               0 1,000-5,000                                        25,001-50,000
 14.Estimated number of                   0 50-99                             0 5,001-10,000                                   0 50,001-100,000
    creditors
                                          0 100-199                           0 10,001-25,000                                  0 More than 100,000
                                          0 200-999
                                             i-$50,000
                                          Dair                                   $1,000,001-$10 million                          $500,000,001-$1 billion
  15.Estimated assets                     0 $50,001-$100,000                     $10,000,001-$50 million                         $1,000,000,001-$10 billion
                                            $100,001-$500,000                    $50,000,001-$100 million                        $10,000,000,001-$50 billion
                                            $500,001-$1 million                0 $100,000,001-5500 million                     0 More than $50 billion

                                             $0-$50,000                        0 $1,000,001-$10 million                        0 $500,000,001-$1 billion
  16.Estimated liabilities                9;50,001-$100,000                        $10,000,001-$50 million                         $1,000,000,001-$10 billion
                                          U$100,001-$500,000                   0   $50,000,001-$100 million                        $10,000,000,001-$50 billion
                                             $500,001-$1 million                   $100,000,001-$500 million                   0   More than $50 billion




IN           Request for Relief, Declaration, and Signatures


  WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
             $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


  17.Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                              petition.
     debtor

                                              I have been authorized to file this petition on behalf of the debtor.

                                               I have examined the information in this petition and have a reasonable belief that the information is true and
                                               correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                              Executed on                2_023
                                                             MMI I DO IYYYY

                                                            Mnc                                                                             Boo4,
                                              Signa       of authorized representative of debtor                Printed name

                                              Title




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Debtor                                                                          Case number (if known)
             Name




 15. Signature of attorney    x                                                             Date
                                   Signature of attorney for debtor                                      MM   / DD / YYYY




                                   Printed name


                                   Firm name


                                   Number         Street


                                   City                                                          State           ZIP Code



                                   Contact phone                                                 Email address




                                   Bar number                                                    State




    Official Form 201               Voluntary Petition for Non-Individuals Filing for Bankruptcy                              page 5
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Case Number: 23-55562 Name:                              Grape and Vine                 Chapter: 11                   Division: Atlanta

Please submit the following original documents to the Court for filing so that the case will proceed timely. Failure to comply may
result in the dismissal of your case.

If filing bankruptcy without an attorney, please read the information regarding Filing Bankruptcy without an Attorney at:
www.uscourts.gov/services-forms/bankruptcy/filing-w ithout-attorney.

0 Individual - Series 100 Forms                                                         El Non-Individual - Series 200 Forms
Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov.

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                    Petition Deficiencies:
 El Complete List of Creditors (names and addresses of all creditors)                   O Last 4 digits of SSN
 El Pro Se Affidavit (signature must be notarized,                                      0 Address
 or witnessed by a Court Intake Clerk, accompanied by a picture ID.)                    O Statistical Estimates
 El Signed Statement of SSN                                                             O Other:

MISSING DOCUMENTS DUE WITHIN 14 DAYS
O Statement of Financial Affairs                                                                      Case filed via:
                                                                                  O Intake Counter by:
1X1 Schedules: A/B D E/ F G H
    Summary of Assets and Liabilities                                                 O Attorney
O Declaration About Debtor(s) Schedules                                               El Debtor
El Attorney Disclosure of Compensation                                               [81 Other: Jessica Booth 770-696-3443
El Petition Preparer's Notice, Declaration and Signature (Form 119)               O Mailed by:
El Disclosure of Compensation of Petition Preparer (Form 2800)                       0 Attorney
O Chapter 13 Current Monthly Income                                                  O Debtor
D Chapter 7 Current Monthly Income                                                   O Other:
O Chapter 11 Current Monthly Income
1=1 Certificate of Credit Counseling (Individuals only)                           O Email [Pursuant to General Order 45-2021, this petition
O Pay Advices (Individuals only) (2 Months)                                       was received for filing via email]
O Chapter 13 Plan, complete with signatures (local form)
CZI Corporate Resolution (Non-Individual Ch. 7 & 11)                                            History of Case Association
                                                                                  Prior cases within 2 years:
MISSING DOCUMENTS DUE WITHIN 30 DAYS
O Statement of Intent — Ch.7 (Individuals only)
                                                                                  Signature:
Ch.11 Business                                                                    Acknowledgm         of receipt of Deficiency Notice
Z 20 Largest Unsecured Creditors
O List of Equity Security Holders
O Small Business - Balance Sheet                                                   Intake Clerk:     r.smith       ID Verified 0    Date:6/13/23
• Small Business - Statement of Operations
  Small Business - Cash Flow Statement
  Small Business - Federal Tax Returns

FILING FEE INFORMATION
Online Payment for Filing Fee https://www.ganb.uscourts.gov/online-payments (not for chapter 13 plan payments)
      • Paid $
       1=I Pending Pay.Gov, Paid $
       1=1 IFP filed (Ch.7 Individuals Only)
       •   2g-Order Granting         0 3g-Order Granting 10-day (initial payment of $_____ due within 10 days)
       •   2d-Order Denying with filing fee of $                due within 10 days
       O No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.
                            You may mail documents and filing fee payments (no personal checks or cash accepted) to the address below.
                       All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                                 UNITED STATES BANKRUPTCY COURT
                                                     75 Ted Turner Drive, SW, Room 1340
                                                              Atlanta, Georgia 30303
                                                                    404-215-1000
